Case 4:09-cv-03383 Document 1 Filed on 10/20/09 in TXSD Page 1 of 8
Case 4:09-cv-03383 Document 1 Filed on 10/20/09 in TXSD Page 2 of 8
Case 4:09-cv-03383 Document 1 Filed on 10/20/09 in TXSD Page 3 of 8
Case 4:09-cv-03383 Document 1 Filed on 10/20/09 in TXSD Page 4 of 8
Case 4:09-cv-03383 Document 1 Filed on 10/20/09 in TXSD Page 5 of 8
Case 4:09-cv-03383 Document 1 Filed on 10/20/09 in TXSD Page 6 of 8
Case 4:09-cv-03383 Document 1 Filed on 10/20/09 in TXSD Page 7 of 8
Case 4:09-cv-03383 Document 1 Filed on 10/20/09 in TXSD Page 8 of 8
